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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


Minnesota Life Insurance Company,                     Civil No. 03-4383 DWF/SRN
Advantus Capital Management, Inc., and
Securian Financial Group, Inc.,

            Plaintiffs,

v.                                                    ORDER
AXA Investment Managers,
Frederick Fritz Feuerherm, and
Wayne Schmidt,

            Defendants.
            ___________________________________________________

      IT IS HEREBY ORDERED that:

      1.    This Court’s July 22, 2005 Order (Doc. No. 274) is VACATED. The Clerk of

            Court shall remove the July 22, 2205 Order from the Court file;

      2.    The Clerk of Court shall REMOVE the following documents from the Court

            file:

            Doc. No. 176: Motion for Leave to Add Claim for Punitive Damages (filed

                    March 4, 2005);

            Doc. No. 177: Notice of Motion to Add Claim for Punitive Damages (filed

                    March 4, 2005);

            Doc No. 178: Affidavit of David M. Wilk (with Exhibits 1-84) (conventionally

                    filed on March 4, 2005);

            Doc. No. 179: Memorandum in Support of Plaintiffs’ Motion to Amend to

                    Seek Punitive Damages (filed March 4, 2005);
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       Doc. No. 190: Memorandum of Law of Defendant AXA Investment

              Managers in Opposition to Plaintiffs’ Motion to Amend Complaint to

              Assert Claims for Punitive Damages (filed on March 11, 2005);

       Doc. No. 191: Affidavit of Dean L. LeDoux (with Exhibits 1 & 2) (filed on

              March 11, 2005;

       Doc. No. 198: Memorandum in Opposition to Plaintiffs’ Motion to Amend to

              Seek Punitive Damages (filed on March 11, 2005);

       Doc. No. 199: Declaration of Mary L. Knoblauch (with Exhibits 1-16)

              conventionally filed on March 11, 2005);

       Doc. No. 288: Notice of Appeal of AXA Investment Managers From

              Magistrate Judge’s Punitive Damages Order (Filed in Error) (filed

              August 5, 2005);

       Doc No. 289: Memorandum of Law in Support of the Appeal of Defendant

              AXA Investment Managers From the Magistrate Judge’s Punitive

              Damages Order (filed August 5, 2005);

       Doc. No. 290: Notice of Appeal of AXA Investment Managers From

              Magistrate Judge’s Punitive Damages Order (filed August 5, 2005);

       Doc. No. 292: Notice of Appeal to Federal Court (Filed in Error) (filed

              August 5, 2005);

       Doc. No. 293: Defendants Frederick “Fritz” Feuerherm and Wayne

              Schmidt’s Memorandum in Support of their Appeal From the

              Magistrate Judge’s Order Allowing a Punitive Damages Claim (filed
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                      August 5, 2005);

            Doc No. 295: Appeal of Magistrate Judge’s Decision to District Court (filed

                      August 5, 2005);

            Doc. No. 305: Second Amended Complaint (filed on August 18, 2005);

            Doc. No. 307: Memorandum in Opposition to Defendants’ Appeal of

                      Magistrate Judge Nelson’s Punitive Damages Order (filed August 19,

                      2005);

            Doc. No. 308: Affidavit of Sarah L. Beuning (with Exhibits A-D) (filed August

                      19, 2005);

            Doc. No. 311: Answer of AXA Investment Managers to Second Amended

                      Complaint (filed on August 30, 2005); and

            Doc. No. 313: Answer of Defendants Frederick “Fritz” Feuerherm and

                      Wayne Schmidt to Second Amended Complaint (filed August 31,

                      2005); and

      3.    To the extent any of the documents listed above are filed under seal or filed

            conventionally, the Clerk of Court shall return the documents to the filing party

            by any means deemed appropriate by the Clerk of Court, including

            requesting that the filing party retrieve said document(s) from the Clerk’s

            Office.

Dated: October 13, 2005

                                                        s/ Susan Richard Nelson
                                                        SUSAN RICHARD NELSON
                                                        United States Magistrate Judge
